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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

SHENZHEN JISU TECHNOLOGY CO., LTD
                                                           Plaintiff,
v.                                                                      Case No.:
                                                                        1:24−cv−04152
                                                                        Honorable Sara L.
                                                                        Ellis
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A, et
al.
                                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 27, 2024:


         MINUTE entry before the Honorable Sara L. Ellis: The Court grants in part
Defendant SLENPET's motion to modify the temporary restraining order bond amount
[28]. A "court may issue a preliminary injunction or a temporary restraining order only if
the movant gives security in an amount that the court considers proper to pay the costs and
damages sustained by any party found to have been wrongfully enjoined or restrained."
Fed. R. Civ. P. 65(c). "The appropriate amount of the bond is subject to the court's
discretion." Monster Energy Co. v. Wensheng, 136 F. Supp. 3d 897, 910 (N.D. Ill. 2015).
"[W]hen setting the amount of security, district courts should err on the high side." Mead
Johnson & Co. v. Abbott Lab'ys, 201 F.3d 883, 888 (7th Cir. 2000). In this case, the Court
initially required a $1,000 bond. Having reviewed Plaintiff's and SLENPET's arguments
concerning the proper bond amount, the Court finds it appropriate to increase the bond
amount in this case to $370,000, which takes into account the number of defendants
Plaintiff initially sued and the potential damages they may have incurred under the
temporary restraining order in this case. The Court thus orders Plaintiff to deposit with the
Court an additional $369,000, either cash or security bond, as security within seven (7)
calendar days of this order. Status date set for 10/2/2024 at 9:30 a.m. on Plaintiff's motion
for a preliminary injunction against SLENPET [13] and SLENPET's motion for damages
[28] to stand. Mailed notice(rj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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